Case 3:06-cr-30167-DRH     Document 64      Filed 03/28/07   Page 1 of 5   Page ID #123




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 RUBEN SALAICES-ARENALES,


 Defendant.                                                  No. 06-CR-30167-DRH


                            MEMORANDUM and ORDER

 HERNDON, District Judge:

                                   I. Introduction

              Pending before the Court is Defendant Ruben Salaices-Arenales’ March

 15, 2007 motion to dismiss the indictment (Doc. 59). Specifically, Salaices-Arenales

 argues that the Counts against him are fatally flawed and defective in that they allege

 abstract drug quantity rather than actual offense conduct drug quantity. On March

 23, 2007, the Government filed its response (Doc. 62). Based on the case law and

 the following, the Court denies the motion to dismiss.

              On December 18, 2006, the grand jury returned a 13-count indictment

 against Javier Mendez, Scott Riddle, Rogelio Salaices-Arenales, Jose Antonio

 Salaices-Arenales, Ruben Salacies-Arenales, Christopher Salacies-Arenales and Chris

 Vital for drug violations (Doc. 1). The charges against Ruben Salacies-Arenales are

 contained in Count 1 and Count 13: Count 1 is against all six defendants for

                                       Page 1 of 5
Case 3:06-cr-30167-DRH     Document 64     Filed 03/28/07   Page 2 of 5   Page ID #124




 conspiracy to knowingly and intentionally distribute and possess with the intent to

 distribute marijuana and cocaine in violation of 21 U.S.C. § 841(a)(1);

 841(b)(1)(A)(ii) and (vii) and 21 U.S.C. § 846 and Count 13 is against Ruben and

 Rogelio for knowingly and intentionally possess with the intent to distribute

 marijuana in violation of 21 U.S.C. § 841(a)(1), 841(b)(1)(C) and 18 U.S.C. § 2. As

 to the drug quantity in Count 1, the Indictment states:

       The total amount of cocaine involved in the conspiracy which was
       reasonable forseeable [sic] to the defendants exceeds 5 kilograms of a
       mixture or substance containing a detectable amount of cocaine. The
       total amount of marijuana involved in the conspiracy which is
       reasonable forseeable [sic] to the defendants exceeds 1,000 kilograms
       of a mixture or substance containing a detectable amount of marijuana

 As to the drug quantity in Count 13, the Indictment states: “knowingly and

 intentionally possess with the intent to distribute a detectable amount of a mixture

 or substance containing marijuana, a Schedule I Controlled Substance, in violation

 of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C), and Title 18

 United States Code, Section 2.”

                               II. Motion to Dismiss

              Federal Rule of Criminal Procedure 7(c)(1) requires that an

 indictment contain a “plain, concise and definite written statement of the essential

 facts constituting the offense charged.” The Seventh Circuit has held that an

 indictment meets the requirements of Rule 7(c)(1) if it: (1) contains the elements of

 the offense charged; (2) fairly informs the defendants of the nature of the charge

 against him; and (3) enables the defendant to plead the judgment as a bar to later


                                      Page 2 of 5
Case 3:06-cr-30167-DRH     Document 64     Filed 03/28/07   Page 3 of 5   Page ID #125




 prosecution for the same offense. See United States v. Moore, 446 F.3d 671,

 676-77 (7th Cir. 2006). The test for validity of an indictment is not whether it

 could have been framed in a more satisfactory manner, but whether it conforms to

 minimal constitutional standards. Id. (citing United States v. Allender, 62 F.3d

 909, 914 (7th Cir. 1995)). In analyzing the sufficiency of an indictment, the court

 reads the indictment in its entirety. United States v. Hoag, 823 F.2d 1123, 1126

 (7th Cir. 1987)) and refrains from reading a count in a hypertechnical manner.

 United States v. McNeese, 901 F.2d 585, 602 (7th Cir.1990).

              Salaices-Arenales argues that the Government is barred from charging

 by indictment abstract enhancement threshold levels of drug quantity that may

 establish prescribed statutory maximum penalty for the offense. He also argues that

 this omission violates his due process rights as articulated by Jones v. United

 States, 526 U.S. 227 (1999); Apprendi v. New Jersey, 530 U.S. 466 (2000);

 United States v. Booker, 543 U.S. 220 (2005); and Cunningham v. California,

 127 S.Ct. 856 (2007). The Government contends that the indictment tracks the

 statutory language, it states the elements of the crime with which Defendant has been

 charged, it adequately apprises Defendant of the nature of the charges in preparation

 for his defense, and it is sufficiently detailed such that it would bar future

 prosecutions for the offenses.     Furthermore, the Government contends that

 Indictment is not deficient since drug amounts impact sentencing when and if the

 court determines the appropriate offense levels.       The Court agrees with the


                                      Page 3 of 5
Case 3:06-cr-30167-DRH     Document 64     Filed 03/28/07   Page 4 of 5    Page ID #126




 Government.

              In Apprendi, the Supreme Court held that “[o]ther than the fact of a

 prior conviction, any fact that increases the penalty for a crime beyond the

 prescribed maximum must be submitted to a jury, and proved beyond a reasonable

 doubt.” 530 U.S. at 490. The implication of Apprendi for defendants charged with

 drug offenses under 21 U.S.C. § 841(a) is that they may not be subjected to a

 statutorily enhanced sentence based on drug type and quantity, as provided in §

 841(b), without those elements being charged in the indictment and proven beyond

 a reasonable doubt. See United States v. Nance, 236 F.3d 820, 825 (7th Cir.

 2000).

              Therefore, the Indictment is not deficient as Salaices-Arenales argues;

 drug amounts will impact the sentencing guidelines and weigh in when the Court

 determines the appropriate offenses levels, if necessary. If there comes a time when

 the Defendant chooses to plead guilty, he will have to be in a position to know that

 to which he proposes to plead. There has been some confusion in times past for

 other defendants in relevant conduct amounts and how they affect the defendant’s

 sentence, stemming from the pleading as it carried over to the plea agreements. On

 those occasions, the Court has given the defendant the option to withdraw his plea.

 The Government is well advised, particularly prior to a plea, to have its facts well

 marshaled. However, the Government, at this stage, does possess a great deal of

 discretion in its pleading, much to the displeasure of this Defendant, and likely many



                                      Page 4 of 5
Case 3:06-cr-30167-DRH          Document 64        Filed 03/28/07       Page 5 of 5      Page ID #127




 others. As such, prior to some kind of disposition, Salaices-Arenales’ arguments are,

 at best premature. Furthermore, the Indictment clearly informs Saliaces-Arenales

 of both types of drugs and the quantities for which the Government seeks to hold

 him liable.1

                                          III. Conclusion

                Accordingly, the Court DENIES Defendant’s motion to dismiss

 indictment (Doc. 59).

                IT IS SO ORDERED.

                Signed this 28th day of March, 2007.

                                                               /s/      David RHerndon
                                                               United States District Judge




        1
          While not specifically addressing this issue, the Seventh Circuit stated:
 In turn, the indictment, as is customary in the post-Apprendi world, referenced the necessary drug
 quantity for sentencing purposes: alleging that the defendants “conspire[d] ... to knowingly and
 intentionally distribute and possess with intent to distribute 50 grams or more of ... ‘crack cocaine’
 ...” United States v. Tolliver, 454 F.3d 660, 664 (7th Cir. 2006).

                                             Page 5 of 5
